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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                           06-CR-291(JMR/SRN)


United States of America               )
                                       )
             v.                        )     ORDER
                                       )
Dana Alphonse Oliver (05)              )
Austin Robert Head (11)                )
Herbert Melvin May (14)                )
Ramon Charles Sayers (22)              )



        All defendants object to the Report and Recommendation, issued

May 27, 2008 [Docket Nos. 1115, 1116, 1117, 1118], by the Honorable

Susan Richard Nelson, United States Magistrate Judge.            The Report

recommended denying defendants’ pretrial motions.               Defendants’

objections to the Report were timely filed, pursuant to Local Rule

72.2.

        Based upon a de novo review of the record herein, the Court

adopts the Magistrate’s Report and Recommendation.

        Accordingly, IT IS ORDERED that:

        1.   Defendant Dana Oliver’s Motion to Suppress Confession

             [No. 365] is denied;

        2.   Defendant Dana Oliver’s Motion to Quash Arrest [No. 368]

             is denied;

        3.   Defendant Dana Oliver’s Motion to Suppress Evidence of

             Electronic Surveillance [No. 1104] is denied;

        4.   Defendant Austin Head’s Motion to Suppress Statements

             [No. 420] is denied as moot;
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5.    Defendant Austin Head’s Motion to Suppress Evidence

      Obtained Through Search and Seizure [No. 421] is denied

      as moot;

6.    Defendant Austin Head’s Motion to Suppress Evidence

      Obtained Through Electronic Surveillance [No. 422] is

      denied;

7.    Defendant Austin Head’s Motion to Dismiss Indictment [No.

      424] is denied;

8.    Defendant    Austin    Head’s      Second   Motion    to    Dismiss

      Indictment [No. 638];

9.    Defendant   Austin     Head’s   Second      Motion   to    Suppress

      Physical Evidence [No. 639] is denied as moot;

10.   Defendant   Austin     Head’s   Second      Motion   to    Suppress

      Statements [No. 640] is denied as moot;

11.   Defendant Austin Head’s Motion to Dismiss on Speedy Trial

      Violation [No. 1092] is denied;

12.   Defendant Herbert May’s Motion to Suppress Evidence

      Obtained in Violation of Fourth Amendment [No. 352] is

      denied as moot;

13.   Defendant Herbery May’s Motion to Suppress Evidence

      Obtained in Violation of Fifth Amendment [No. 353] is

      denied;

14.   Defendant Herbert May’s Motion to Suppress Electronic

      Surveillance Evidence [No. 354] is denied;
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     15.   Defendant Ramon Sayers’ Motion to Suppress Evidence

           Obtained from Search and Seizure [No. 572] is denied as

           moot;

     16.   Defendant Ramon Sayers’ Motion to Suppress Statements

           [No. 574] is denied as moot;

     17.   Defendant Ramon Sayers’ Motion to Suppress Evidence from

           Intercepted Wire Communications [No. 578] is denied; and

     18.   Defendant Ramon Sayers’ Motion to Dismiss Indictment [No.

           584] is denied.

     IT IS SO ORDERED.

Dated: June 30, 2008




                                 s/ JAMES M. ROSENBAUM
                                 JAMES M. ROSENBAUM
                                 United States Chief District Judge
